Label Matrix for local noticing               PRA Receivables Management, LLC               The Bank of New York Mellon Trust Company, N
1083-2                                        PO Box 41067                                  1661 Worthington Road
Case 15-20184                                 Norfolk, VA 23541-1067                        Suite 100
District of Kansas                                                                          West Palm Beach, FL 33409-6493
Kansas City
Sat Jan 23 16:23:33 CST 2016
Kansas City Divisional Office                 AFFILIATED MANAGEMEN                          BBY/CBNA
161 Robert J. Dole US Courthouse              7219 METCALF SUITE 202                        50 NORTHWEST POINT ROAD
500 State Avenue                              OVERLAND PARK, KS 66204-1993                  ELK GROVE VILLAGE, IL 60007-1032
Kansas City, KS 66101-2448


BMO HARRIS BANK NA                            BMO HARRIS TRUST& SAVI                        BMO Harris Bank NA
770 N WATER ST, ATN: BRK-180-RC               111 W MONROE ST                               c/o South & Associates
MILWAUKEE, WI 53202                           CHICAGO, IL 60603-4095                        6363 College Blvd. Suite 100
                                                                                            Overland Park, KS 66211-1881


Best Buy Credit Services                      (p)CAPITAL ONE                                CBE Group
P.O. Box 790441                               PO BOX 30285                                  P.O. Box 930
St. Louis, MO 63179-0441                      SALT LAKE CITY UT 84130-0285                  Waterloo, IA 50704-0930



CCS/FIRST NATIONAL BAN                        CHASE                                         CITI
500 E 60TH ST N                               PO BOX 15298                                  PO BOX 6241
SIOUX FALLS, SD 57104-0478                    WILMINGTON, DE 19850-5298                     SIOUX FALLS, SD 57117-6241



CONSUMER COLLECTION MN                        CREDIT ONE BANK NA                            Capital One NA
2333 GRISSOM DR                               PO BOX 98875                                  c/o Becket and Lee LLP
SAINT LOUIS, MO 63146-3322                    LAS VEGAS, NV 89193-8875                      POB 3001
                                                                                            Malvern PA 19355-0701


Cavalry SPV I LLC                             Cavalry SPV I, LLC                            Citibank, N.A.
Bass and Associates PC                        500 Summit Lake Drive, Ste 400                701 East 60th Street North
3936 E Ft Lowell Suite 200                    Valhalla, NY 10595-1340                       Sioux Falls, SD 57104-0493
Tucson AZ 85712-1083


DEPT OF ED/NAVIENT                            DISCOVER FIN SVCS LLC                         Discover Bank
PO BOX 9635                                   PO BOX 15316                                  Discover Products Inc
WILKES BARRE, PA 18773-9635                   WILMINGTON, DE 19850-5316                     PO Box 3025
                                                                                            New Albany OH 430543025


FNB OMAHA                                     First National Bank of Omaha                  First National Credit Card
1620 DODGE ST                                 1620 Dodge Street                             P.O. Box 5097
OMAHA, NE 68197-0003                          Stop Code 3105                                Sioux Falls, SD 57117-5097
                                              Omaha Ne 68197-0003


Hyundai Capital America DBA                   Internal Revenue Service                      KANSAS COUNSELORS OF K
Kia Motors Finance                            P.O. Box 7346                                 PO BOX 14765
PO Box 20825                                  Philadelphia, PA 19101-7346                   SHAWNEE MISSION, KS 66285-4765
Fountain Valley, CA 92728-0825
                                   Case 15-20184    Doc# 51-1          Filed 01/23/16   Page 1 of 3
KOHLS/CAPONE                                  Kansas Department of Revenue                       Kansas Dept. of Revenue
N56 W 17000 RIDGEWOOD DR                      Civil Tax Enforcement                              915 SW Harrison St.
MENOMONEE FALLS, WI 53051-7096                PO Box 12005                                       Topeka, KS 66699-1000
                                              Topeka KS 66601-3005


Kia Motors Finance                            LVNV Funding, LLC its successors and assigns       MNET FIN INC
P.O. Box 105299                               assignee of FNBM, LLC                              95 ARGONAUT STE 250
Atlanta, GA 30348-5299                        Resurgent Capital Services                         ALISO VIEJO, CA 92656-4142
                                              PO Box 10587
                                              Greenville, SC 29603-0587

Mobiloans                                     Navient Solutions, Inc.                            OCWEN LOAN SERVICING L
151 Melacon Drive                             Department of Education Loan Services              12650 INGENUITY DR
Marksville, LA 71351-3065                     P.O. Box 9635                                      ORLANDO, FL 32826-2703
                                              Wilkes-Barre, PA 18773-9635


OPTIMA RECOVERY SERVIC                        (p)PORTFOLIO RECOVERY ASSOCIATES LLC               SEARS/CBNA
6215 KINGSTON PK STE A                        PO BOX 41067                                       PO BOX 6282
KNOXVILLE, TN 37919-4044                      NORFOLK VA 23541-1067                              SIOUX FALLS, SD 57117-6282



SPRINGLEAF                                    STATE FARM FINANCIAL S                             SYNCB/CARE CREDIT
PO BOX 64                                     3 STATE FARM PLAZA N-4                             950 FORRER BLVD
EVANSVILLE, IN 47701-0064                     BLOOMINGTON, IL 61791-0002                         KETTERING, OH 45420-1469



SYNCB/JCP                                     SYNCB/OLD NAVY                                     SYNCB/PHILLIPS 66
PO BOX 965007                                 PO BOX 965005                                      4125 WINDWARD PLZ
ORLANDO, FL 32896-5007                        ORLANDO, FL 32896-5005                             ALPHARETTA, GA 30005-8738



SYNCB/QVC                                     (p)SPRINGLEAF FINANCIAL SERVICES                   State Farm Bank
PO BOX 965018                                 P O BOX 3251                                       c/o Becket and Lee LLP
ORLANDO, FL 32896-5018                        EVANSVILLE IN 47731-3251                           POB 3001
                                                                                                 Malvern PA 19355-0701


Synchrony Bank                                TD BANK USA/TARGETCRED                             U.S. Trustee
c/o Recovery Management Systems Corp          PO BOX 673                                         Office of the United States Trustee
25 SE 2nd Ave Suite 1120                      MINNEAPOLIS, MN 55440-0673                         301 North Main Suite 1150
Miami FL 33131-1605                                                                              Wichita, KS 67202-4811


US Department of Education                    (p)VON MAUR INC                                    eCAST Settlement Corporation assignee of Cit
PO Box 16448                                  6565 BRADY STREET                                  NA
St. Paul, MN 55116-0448                       DAVENPORT IA 52806-2054                            POB 29262
                                                                                                 New York NY 10087-9262


td bank usa, n.a.                             Mark H Engen                                       Maureen E. Engen
c o Weinstein and Riley PS                    7905 W. 96th Street                                7905 W. 96th Street
2001 Western Avenue Suite 400                 Overland Park, KS 66212-3308                       Overland Park, KS 66212-3308
Seattle WA 98121-3132
                                   Case 15-20184    Doc# 51-1           Filed 01/23/16       Page 2 of 3
Teresa M. Kidd                                         William H Griffin
8700 Monrovia                                          5115 Roe Blvd Ste 200
Suite 310                                              Roeland Park, KS 66205-2393
Lenexa, KS 66215-3500




                     The preferred mailing address (p) above has been substituted for the following entity/entities as so specified
                     by said entity/entities in a Notice of Address filed pursuant to 11 U.S.C. 342(f) and Fed.R.Bank.P. 2002 (g)(4).


CAP ONE                                                Portfolio Recovery Associates, LLC                   (d)Portfolio Recovery Associates, LLC
PO BOX 85520                                           POB 41067                                            POB 41067
RICHMOND, VA 23285                                     Norfolk VA 23541                                     Norfolk, VA 23541



Springleaf Financial Services, Inc.                    VON MAUR
PO Box 3251                                            6565 BRADY ST
Evansville IN 47731-3251                               DAVENPORT, IA 52806-2054




                 The following recipients may be/have been bypassed for notice due to an undeliverable (u) or duplicate (d) address.


(u)BMO Harris Bank, N.A., successor by merger          End of Label Matrix
                                                       Mailable recipients    61
                                                       Bypassed recipients     1
                                                       Total                  62




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